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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         CASE NO.: 1:21-CV-22391-COOKE/O’SULLIVAN

  MACEO PHIFFER,

        Plaintiff,

  vs.

  GREENSTAR LANDSCAPING, CO. and
  PETER E. MASI,

       Defendants.
  ______________________________/
               PLAINTIFF’S NOTICE OF NO OBJECTION BY ANY PARTY
         Plaintiff, Maceo Phiffer, notices the Court and all parties that no party timely file an
  objection to the Order Approving Offer of Judgment and Recommending that Judgement Be
  Entered in Favor of the Plaintiff, that the Court Retain Jurisdiction to Determine Attorney’s
  Fees and Costs and Set a Briefing Schedule entered on August 20, 2021 at ECF No. 12.
         Pursuant to 28 U.S.C. §636(b)(1), 29 U.S.C. §216(b), and Fed. R. Civ. P. 68, Plaintiff
  requests the Court (a) to enter a Final Judgment for Plaintiff, (b) to determine that Plaintiff is
  the prevailing party, (c) to retain jurisdiction to determine his attorneys’ fees and costs to be
  recovered by Defendants, jointly and severally, and (d) to set a briefing schedule on attorneys’
  fees and costs pursuant to ECF No. 12.
         Dated this 28th day of September 2021.
                                                       s/Brian H. Pollock, Esq.
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